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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF PUERTO RICO

    IN RE:

       JUAN CARLOS PRADO NICASIO          CASE NO. 19-06224-MCF


       XXX-XX-3397                                 CHAPTER 13


       DEBTOR (S)

      TRUSTEE'S MOTION TO INFORM COMPLIANCE WITH DEBTOR'S "MOTION FOR
                     ORDER TO TRUSTEE" (DOCKET NO. 74)
    TO THE HONORABLE COURT:

    NOW COMES, José R. Carrión, Standing Chapter 13 Trustee
 (hereinafter, the “Trustee”), through the undersigned attorney, very
 respectfully alleges and prays:

    1. On June 22, 2021, Debtor filed a motion requesting the entry of
 an order for Trustee to disburse the pre-confirmation adequate
 protection payments to Dionisio Benítez (Docket No. 74).

    2. On July 7, 2021, the Court enter an order granting the Debtor’s
 motion requesting the entry of an order for Trustee (Docket No. 76).

    3. The Trustee hereby informs that the Trustee has disbursed the
 amount of $18,000.00 to creditor Dionisio Benítez.

    WHEREFORE, the Trustee respectfully requests this Honorable Court
 that take notice of the above mentioned and deems the Trustee in
 compliance with the Order entered at docket number 76.

    CERTIFICATE OF SERVICE: The Chapter 13 Trustee certifies that
 today, this document has been filed using the Court’s CM/ECF System,
 which will provide electronic notice of the same to all appearing
 parties that are CM/ECF participants and that copy of this motion has
 been served by regular U.S. Mail on this same date to: the DEBTOR(s)
 by first class mail to the address of record.
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 Respectfully submitted,

 In San Juan, Puerto Rico, this August 25, 2021.

                                          /s/ Mayra Arguelles

                                          Staff Attorney
                                          USDC No. 228304
                                          JOSÉ R. CARRIÓN-MORALES
                                          CHAPTER 13 TRUSTEE
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